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                          No. 23-55478

          UNITED STATES COURT OF APPEALS
               FOR THE NINTH CIRCUIT

         ALEXANDRIA MOSLEY, REJOYCE KEMP,
          BERENICE CISNEROS, BRUCE PARKER,
                                     Plaintiffs-Appellants
                                v.
                   WELLS FARGO & CO.,
                 WELLS FARGO BANK, N.A.,
                                     Defendants-Appellees

                 Appeal from a Decision of the
                   United States District Court
             for the Southern District of California
         U.S.D.C. Case No. 3:22-cv-01976-DMS-AGS
         The Honorable Dana M. Sabraw, District Judge

              APPELLANTS’ OPENING BRIEF


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                                INTRODUCTION

      This appeal arises from Wells Fargo Bank’s broken promises. When

Appellants opened consumer checking accounts, they agreed to terms requiring

them to waive their rights to sue in court—including their right to participate in

litigation—and proceed instead to individual arbitration. According to Wells

Fargo, bilateral arbitration was necessary for Appellants to obtain a more timely

and efficient outcome than litigation.

      When disputes arose from Wells Fargo’s overdraft fee practices, Appellants

sought the bilateral arbitrations they were promised. But what they did not know

was Wells Fargo considered the arbitration agreement a mere pretext. Faced with

only a few thousand arbitrations filed by a small percentage of its customers, Wells

Fargo adopted scorched-earth practices to prevent any arbitrations from

proceeding. To achieve this goal, Wells Fargo’s strategy was to adopt a tack it

would deem abhorrent if the roles were reversed—the advocacy of class-wide

procedure to obtain collective relief. By manipulating these thousands of individual

arbitrations into a single quasi-class, Wells Fargo stopped them in their tracks.

      Given Wells Fargo’s arbitration embargo, Appellants had no choice but to

seek relief in federal court, relying upon an express contractual provision

permitting lawsuits for injunctive relief. But the district court overlooked Wells




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Fargo’s blatant abuses of process to hold that Appellants had no choice but to have

their substantive rights mangled in a simulacrum of dispute resolution.

      The Ninth Circuit can, and should, put a stop to all of this. First, the district

court misinterpreted the parties’ arbitration agreement by holding that it barred

Appellants from suing for injunctive relief. The agreement plainly says otherwise.

Next, even though the district court ignored the agreement’s plain language to bar

Appellants’ lawsuit, it relied at the same time on ambiguous language to hold that

Wells Fargo had demonstrated “clear and unmistakable” evidence of the parties’

delegation of threshold arbitrability issues. This conclusion was not supported by

the arbitration agreement or rules of contract interpretation either.

      Third, the district court erred by reducing Appellants’ rights to an analysis

reducing those rights to a mere dichotomy of “procedure” and “substance.” The

United States Supreme Court has carved a friendly policy road for consumer

arbitration, but part of doing so means that class-wide procedures must be halted

when they interfere with contractual promises. The only difference between this

case and other similar challenges is that individual consumers are enforcing their

contractual rights against a well-heeled corporate defendant, not the other way

round.

      And finally, the district court erred by returning Appellants to arbitration

because the underlying arbitration order was not “final and binding.” The parties



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agreed that it is final and binding, which should have been sufficient to satisfy the

review standard. But the order’s substantive effect is also final. The harm has been

done and it is past time for Appellants to obtain relief.

      If permitted to stand, the district court’s order would obscure a troubling, all-

too-common reality in modern arbitration. If FAA “policy” is to encourage

arbitration, and it is the foundational pretext upon which generations of future

consumers must proceed to arbitration to obtain relief, then the least consumers can

ask is that it facilitate arbitration proceedings. As it stands, corporate defendants

like Wells Fargo cynically use arbitration to bury legal challenges to their

corporate autonomy. In the face of Wells Fargo’s manipulation, judicial claims of

powerlessness certainly don’t derive for federal law or policy. The district court’s

decision is incompatible with the FAA, legal precedent, and fundamental

principles of contract interpretation. If arbitration is to have a future as something

other than a modern-day Star Chamber useful for corporate defendants to abuse

secret process, the district court should be reversed and the case remanded with

direction to reconsider Appellants’ claims and remedies.

                       STATEMENT OF JURISDICTION

      The district court had jurisdiction under 28 U.S.C. § 1331, 15 U.S.C. § 1693,

28 U.S.C. § 1367(a), and 28 U.S.C. § 2201. On May 1, 2023, it issued an order

granting Wells Fargo’s motion to compel, denying Appellants’ motion for a



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preliminary injunction as moot, and dismissing their Complaint. See 1-ER-2–10.

Appellants filed a notice of appeal on May 26, 2023. This Court has appellate

jurisdiction pursuant to 28 U.S.C. § 1291 and 9 U.S.C. § 16(a)(3).

                          STATEMENT OF THE ISSUE

       1.     Whether the district court erred by concluding that the first cause of

action, seeking injunctive and declaratory relief and alleging Wells Fargo violated

the parties’ arbitration agreement by imposing class-wide procedures and

preventing the efficient individual arbitration guaranteed in the arbitration

agreement, was within the scope of the parties’ arbitration agreement.

       2.     Whether the district court erred by concluding that the arbitration

agreement clearly and unmistakably delegated all issues of arbitrability to the

arbitrator.

       3.     Whether the district court erred by finding it had no jurisdiction to

review the order of the Process Arbitrator entered on October 27, 2022 (the “PA

Order”)1 because it was not “final and binding,” but “procedural” in nature.




1
 For the sake of consistency with the district court, Appellants refer to the Process
Arbitrator’s October 27, 2022 Order as the “PA Order.”

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                           STATEMENT OF THE CASE

I     Background of the Litigation

      This litigation arises from the arbitration agreements Wells Fargo

unilaterally imposes upon consumers who open a checking account. Through the

arbitration agreement, Wells Fargo requires consumers to waive their right to

participate in litigation, including class action litigation, and instead seek dispute

resolution through individual, bilateral arbitration. 2-ER-65. Consistent with the

Arbitration Agreement, Appellants submitted their claims to AAA in the first

instance. 2-ER-117–165.

      But the proceedings quickly became a misnomer; they did not proceed.

Wells Fargo proved willing to fight to the last tooth and nail not only to defeat

Appellants’ claims but prevent them from ever being heard. Appellants’ mere

submission of arbitration demands equated to a declaration of war, with Wells

Fargo refusing to facilitate the bilateral arbitration it earlier promised. And when

Appellants turned to the district court for relief, it ordered them to return to the

same arbitration proceedings where Wells Fargo had already trampled their

rights—an entirely, but unnecessarily, circular resolution. To understand how and

why the district court went wrong, it is vital to understand why Appellants filed

these claims in federal court in the first place.




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      A.     Wells Fargo Imposes the Arbitration Agreement upon Consumers

      Wells Fargo offers banking services to everyday consumers. See 2-ER-65–

66; 2-ER-70. Before consumers open a checking account, they must agree to the

Deposit Account Agreement, the terms Wells Fargo adopts to govern those

accounts. See generally 2-ER-30–70. The Deposit Account Agreement

incorporates a consumer-specific arbitration agreement (“Arbitration Agreement”),

which required the parties to submit claims to the American Arbitration

Association (“AAA”) for administration under the AAA’s Consumer Arbitration

Rules (“Consumer Rules”). 2-ER-65–66.

      In the Arbitration Agreement, Wells Fargo promised that arbitration would

resolve disputes “as quickly and easily as possible” and in a “more streamlined,

cost-effective manner than a typical court case.” 2-ER-65. Claiming that consumer

waivers were crucial to capturing a complete range of arbitration’s benefits, Wells

Fargo forced consumers to waive all rights to participate in litigation, as well as

class or collective action in any forum, including arbitration. 2-ER-65.

      But the Arbitration Agreement did not funnel all claims to arbitration. It

included a carve-out entitled “Additional Dispute Resolution,” which permitted the

parties to seek “provisional and ancillary remedies such as injunctive relief” in a

“court of competent jurisdiction.” 2-ER-66.




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      B.     Appellants File Individual Arbitration Demands

      Each Appellant served AAA with a demand alleging that Wells Fargo

unlawfully charged them overdraft fees in violation of Regulation E of the

Electronic Fund Transfer Act, unlawful and unfair business practices barred by

California’s Unfair Competition Law, and/or breached the terms of the Deposit

Account Agreement. See 2-ER-116–165. Appellants’ claims are a few of

thousands of similar demands served against Wells Fargo since early 2022. Even

today, few, if any, of these claimants have been assigned an arbitrator or a hearing

date. See 2-ER-229–230.

      Each Appellant’s arbitration demand followed the AAA’s filing

requirements set forth in Consumer Rule 2.2 See 2-ER-116–165. And the AAA

subsequently noticed each Appellant that their claims complied with the filing

requirements, initiating their arbitration proceedings. 2-ER-166–178.




2
  To satisfy Rule 2, a demand must (1) briefly explain the dispute; (2) list the
names and addresses of the consumer and the business, and, if known, the names
of any representatives of the consumer and the business; (3) specify the amount of
money in dispute, if applicable; (4) identify the requested location for the hearing
if an in-person hearing is requested; and (5) state the claimant’s desired relief.
AAA Consumer Arbitration Rule 2(a)(1) (2014); see 2-ER-82–94.


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      C.     The Parties Agree To Supplemental Rules To Resolve The Mass

             Arbitration Filings

      Appellants and Wells Fargo agreed to apply the AAA’s new Supplementary

Rules for Multiple Case Filings (“Supp. Rules”) to facilitate resolution of the

demands against Wells Fargo. 2-ER-14–15. Like the Arbitration Agreement, the

MCF Rules promised to “streamline the administration of large volume filings”

involving the same parties. 2-ER-182.

      But nothing in the MCF Rules could trump the Arbitration Agreement,

which still obliged the parties to participate in individual arbitration proceedings.

2-ER-66. Indeed, no conflict existed on paper between these various documents

because the AAA’s stated purpose for the MCF Rules was to provide “an efficient

and economic path toward resolution of multiple individual disputes.” Supp. Rules

at Introduction (emphasis added).3

      The Supplementary Rules’ main feature is to bifurcate the arbitration

process. A “Process Arbitrator” decides “administrative issues,” after which its

decisions are “final and binding upon the parties and Merit Arbitrator(s).” Supp.

Rule MC-6. After the “administrative issues” are resolved, the appointed Merits


3
  2-ER-182. Under Supplementary Rule MC-2, in order to file a demand, “the
filing party shall adhere to the filing requirements set forth in the applicable rules.”
As such, at all relevant times, the filing requirements under AAA Consumer Rules,
Rule 2, are applicable to Appellants’ demands. See 2-ER-184; see also 2-ER-82–
84.

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Arbitrators hold bilateral proceedings and resolve the individual cases on their

merits. Supp. Rule MC-6, 7; see 2-ER-185–187.

      D.     Wells Fargo Imposes Class-wide Procedures in Violation of the

             Agreement

      Though the Process Arbitrator was supposed to expedite individual

arbitrations, Wells Fargo saw an opportunity to game the system. After the Process

Arbitrator’s appointment, Wells Fargo abandoned any pretense that it would

pursue individual arbitrations. Instead, it looked to convert the bilateral arbitration

process into a class arbitration process. The primary vehicle for its scheme was to

advocate that the AAA should hold all claimants to a special pleading standard,

one higher even than the FRCP 12 “plausibility” standard.4 But Wells Fargo did

not stop there, demanding that all past, present, and future claimants satisfy the

higher standard before the AAA would even process a demand. 2-ER-229–230.




4
  See 2-ER-191. Wells Fargo demanded that each demand include: “1) Claimant’s
Wells Fargo account number for the account at issue, 2) facts to establish each
Claimant was enrolled in DCOS during the time period at issue and 3) facts
sufficient to establish that each Claimant incurred overdraft fees in connection with
transactions covered by Regulation E” as well as “Amended Claims specifying
which state laws have been violated … [and] … the specific amount of overdraft
fees each Claimant was wrongly charged.” Id. By contrast, the Rule 12 standard
requires a plaintiff to “allege ‘enough facts to state a claim to relief that is plausible
on its face.’” Taylor v. Yee, 780 F.3d 928, 935 (9th Cir. 2015) (quoting Bell Atl.
Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

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      The AAA played Wells Fargo’s tune. The Process Arbitrator issued the PA

Order, imposing Wells Fargo’s proposed heightened pleading requirements just as

Wells Fargo had planned, requiring every demand to include: “1) Claimant’s

Wells Fargo account number for the account at issue, 2) facts to establish each

Claimant was enrolled in DCOS during the time period at issue and 3) facts

sufficient to establish that each Claimant incurred overdraft fees in connection with

transactions covered by Regulation E.” 2-ER-190–191. More remarkable still,

Wells Fargo managed to grind the arbitration proceedings to a halt merely by

demanding that claimants plead information entirely in Wells Fargo’s possession

already.

      The Process Arbitrator did not stop there, also suspending all of Wells

Fargo’s obligations to pay promised filing fees for all individual claimants,

including Appellants. 2-ER-191. Without fees, the arbitrations could not progress

because no merits arbitrators would be assigned to hold bilateral hearings See

Supp. Rules MC-7, 10. And now, even as Wells Fargo consumers continue to

submit demands, AAA rejects them by claiming they have not satisfied the PA

Order’s arbitrary pleading requirements. 2-ER-201. Through all of this, AAA has

never claimed, much less demonstrated, that a single demand has ever failed to




                                           10
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satisfy AAA pleading rules.5 Id. The only source of authority for rejecting these

demands for processing is the PA Order.

      The situation has worsened since the district court dismissed Appellants’

case. After delaying claimants’ demands, many for over a year, the Process

Arbitrator now has ordered that any demand not amended to satisfy these elevated

pleading requirements by August 14, 2023, will be dismissed without a substantive

hearing. Of course, no contract or AAA rule permits the Process Arbitrator to

dismiss any claims on substantive grounds. See Supp. Rule MC-6; 2-ER-185–186.

II    Proceedings in the District Court

      A.     The Lawsuit

      After being stalled for months by Wells Fargo’s ersatz form of dispute

resolution, Appellants filed suit in the district court alleging that Wells Fargo had

breached the Arbitration Agreement. 2-ER-205–236. In their first cause of action,

Appellants alleged that Wells Fargo had breached by substituting class-wide

arbitration procedures for the promised bilateral arbitrations the Arbitration

Agreement required. 2-ER-230–231. In their second and third causes of action,


5
  Wells Fargo misled both the Process Arbitrator and the district court by
highlighting authorization forms sent by Appellants’ counsel to Wells Fargo that
lacked relevant information, like bank account numbers. But these forms are not
the arbitration demands filed with AAA, but requests to Wells Fargo for electronic
copies of Appellants’ personal banking records. See 2-ER-17–19. Appellants’
counsel sent these forms to Wells Fargo to request individual banking records,
requests which Wells Fargo rejected as a class.

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they repeated the substantive claims against Wells Fargo that they described in

their arbitration demands. 2-ER-232–234.

      Appellants also moved to for a preliminary injunction against the PA Order,

pending resolution of the issues raised by their first cause of action. On the other

hand, Wells Fargo asked the district court to compel Plaintiffs back to arbitration

and dismiss the Complaint, whether on jurisdictional or merits grounds.

      B.     The District Court’s Decision

      The district court decided the motions without the benefit of hearings

(evidentiary or otherwise) or oral argument. See 2-ER-12. It granted Wells Fargo’s

motion to compel arbitration, denied Appellants’ motion for preliminary injunction

as moot, and dismissed the Complaint without prejudice. 1-ER-10. It concluded

that the parties had “clearly and unmistakably” delegated all “gateway” issues to

the arbitrator. 1-ER-6–8.6 Further, though the Arbitration Agreement contained a

carve-out provision permitting Appellants to seek “provisional and ancillary

remedies such as injunctive relief” in a “court of competent jurisdiction,” the




6
 According to these selections, a “dispute is any disagreement between Wells
Fargo and you,” but it “may include a disagreement about this Arbitration
Agreement’s meaning application, or enforcement.” 1-ER-7 (emphasis added); see
2-ER-65. Alternatively, an arbitrator will decide whether the agreement is
enforceable, “[i]f this Arbitration Agreement is in dispute.” 1-ER-7; see 2-ER-66.


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district court circumvented that provision by limiting it only to pursuing “interim

relief to preserve the status quo.” 1-ER-6.

      The district court also concluded it lacked authority to review the PA Order

because it was not “final and binding,” but “a procedural order” addressing “claim

filing requirements in the MCF.” 1-ER-9. It rejected Appellants’ argument that the

PA Order “directly impact[ed]” Appellants’ rights to arbitrate by “requir[ing]

information at the pleading stage that [Appellants] are unable to obtain.”7 Instead,

it concluded that Appellants could provide the required information because they

had already “provided the information required by the PA Order in the subject

Complaint.” 1-ER-9. But the district court relied on no factual support for these

conclusions, only Wells Fargo’s unsupported arguments from its briefs.8 Moreover,




7
 1-ER-9. Notably, the district court did not address the argument addressing the
other side of the same coin: The PA Order requires Plaintiffs to plead information
already completely within Wells Fargo’s possession.
8
  1-ER-9. Courts within the Ninth Circuit analyze motions to compel arbitration
under the same standard as Rule 12(b) motions. See Preliminary Motions Not
Enumerated in Rule 12(b), 5C Fed. Prac. & Proc. Civ. § 1360 (3d ed.) (motions to
compel are encompassed by Rule 12(b); Balen v. Holland Am. Line Inc., 583 F.3d
647, 652 (9th Cir. 2009) (analyzing motion to compel arbitration pursuant to Rule
12(b)(3); Coup v. Scottsdale Plaza Resort, LLC, 823 F. Supp. 2d 831, 938 (D.
Ariz. 2011) (motion to compel arbitration may be brought pursuant to Rule
12(b)(1) or 12(b)(6)); De Salles v. Cook, 2016 WL 9113995, at *4 (C.D. Cal. May
12, 2016) (“While Rule 12(b) does not expressly contemplate motions to compel
arbitration, courts generally treat such motions as preliminary motions rather than
responsive pleadings.”).

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the district court did not analyze whether the PA Order was consistent with Wells

Fargo’s promises of bilateral arbitration.

      Finally, the district court refused to review the PA Order because “it is well-

settled that questions of procedure are not reviewable by courts.” 1-ER-9. It

concluded that the PA Order “deals with procedure, namely pleading and filing

requirements, to provide an orderly process for the MCF––all based on [the PA’s]

interpretation of the Supplementary Rules to which the parties agreed.” 1-ER-9–

10.

                       SUMMARY OF THE ARGUMENT

      The district court compelled the Complaint to arbitration without

distinguishing between its distinct causes of action. 1-ER-9. Appellants’ first cause

of action alleged that Wells Fargo breached the arbitration agreement and sought

injunctive and declaratory relief. 2-ER-230–231. Whether that cause of action

should be arbitrated comes down to the contract’s carve-out provision, which

expressly reserves matters of injunctive and declaratory relief for decision by a

“court of competent jurisdiction.” 2-ER-66. The district court disagreed but relied

on cases that are readily distinguishable.

      The district court also erred by concluding that the arbitration agreement

“clearly and unmistakably” delegated decisions about arbitrability. 1-ER-6–8.

Without an express delegation clause to rely upon, the district court cobbled



                                             14
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together vague and contradictory language, none of which directly addressed

delegation of the arbitrability question. The district court’s conclusion. turned the

“clear and unmistakable” standard on its head.

         Further, the district court misconstrued the PA Order by holding that it

merely governed procedural requirements. See 1-ER-8–10. But this holding

ignored the PA Order’s substance and its impact. The substance of the order

combines individual rights and purports to resolve them on common grounds. And

its impact is to alter the contractual rights of Appellants and other claimants while

preventing the bilateral arbitrations they were promised. As per the Arbitration

Agreement, a court of “competent jurisdiction” not only can provide a substantive

remedy for these violations, it should do so forthwith. See 2-ER-66.

                              STANDARD OF REVIEW

         The Court reviews a district judge’s order to compel arbitration de novo.9

The district court’s factual findings are reviewed for clear error, and the

interpretation and meaning of contract provisions are reviewed de novo.10

         A motion to compel may not be granted solely on the papers where a

genuine dispute of material fact exists regarding the agreement’s execution or its



9
    See Shivkov v. Artex Risk Solutions, Inc., 974 F.3d 1051, 1058 (9th Cir. 2020).
10
     See Nguyen v. Barnes & Noble, Inc., 763 F.3d 1171, 1175 (9th Cir. 2014).


                                           15
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ability to bind the parties.11 A “genuine dispute” exists where “a reasonable jury”

could take the nonmoving party’s view, and a fact is “material” if it “might affect

the outcome.”12

                                      ARGUMENT

I        Appellants’ Breach of Contract Claims Should Not Be Compelled To

         Arbitration

         The district court failed to evaluate Appellants’ first cause of action seeking

relief from Wells Fargo’s violations of the Arbitration Agreement. Further

complicating that error, the district court improperly limited the scope of the

judicial remedies available through the Arbitration Agreement’s carve-out

provision, substituting its own policy preferences for the plain language of the

agreement.

         A.    The District Court Erred In Compelling The First Cause of

               Action To Arbitration

         The district court’s primary error was compelling Appellants’ first cause of

action to arbitration. To determine whether an issue falls within the scope of an

arbitration agreement, courts “must examine the factual allegations raised to



11
  See Three Valleys Mun. Water Dist. v. E.F. Hutton & Co., 925 F.2d 1136, 1141
(9th Cir. 1991).
12
     Anderson v. Liberty Lobby, Inc. 477 U.S. 242, 248 (1986).

                                            16
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determine which … causes of action are arbitral.”13 An issue can be compelled to

arbitration only if the “nature of the claim” “touch[es] matters” the agreement

covers.14

      Here, the district court overstepped by dismissing the entire Complaint in

favor of arbitration. Yes, the second and third causes of action re-allege the

substantive claims Appellants sought relief for in their arbitration demands. 2-ER-

232–235. But the first cause of action addresses Wells Fargo’s breach of the

Arbitration Agreement itself, and the declaratory and injunctive relief Appellants

seek as a result. 2-ER-230–231. This claim did not go “directly to the merits of a

dispute already submitted to arbitration.” 1-ER-8. It is independent from

Appellants’ substantive allegations regarding overdraft fees.

      Ultimately, the district court’s decision to return Appellants to arbitration

ignores the problem. They tried arbitration, but Wells Fargo refused to meet them

in kind. So, their only choice was to vindicate their contractual rights here.




13
   Simula, Inc. v. Autoliv, Inc., 175 F.3d 716, 721 (9th Cir. 1999); see also Jackson
v. Amazon.com, Inc., 65 F.4th 1093, 1101 (9th Cir. 2023).
14
  Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 624
n.13 (1985); see Jackson, 65 F.4th at 1104 (“[E]ven under broad arbitration clauses
… factual allegations must at least ‘touch matters’ covered by the contract
containing the arbitration clause . . .”) (quoting Simula, 175 F.3d at 721).

                                          17
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      B.     The Arbitration Agreement Exempted the First Cause of Action

      While the FAA favors arbitration, it does not “prevent parties … from

excluding certain claims from the scope of their arbitration agreement[.]”15 Here,

the Arbitration Agreement contains an unambiguous carve-out provision, the

interpretation of which is governed by state contract law.16

      Carve-out clauses within broader arbitration agreements are not novel, and

courts have long recognized their limiting effects.17 Like any contract term, a

carve-out can exempt specific claims or remedies depending on its terms.18 The


15
   Volt Info. Sci., Inc. v. Bd. of Trs. of Leland Stanford Junior Univ., 489 U.S. 468,
478 (1989). Courts must “look first to whether the parties agreed to arbitrate a
dispute, not to general policy goals, to determine the scope of the agreement. See
E.E.O.C. v. Waffle House, Inc., 534 U.S. 279, 294 (2002); Goldman, Sachs & Co.
v. City of Reno, 747 F.3d 733, 743 (9th Cir. 2014) (“If the parties contest the scope
of an arbitration agreement, [courts] must determine whether the scope of the
agreement covers the relevant dispute.”) (emphasis in original).
16
  See 2-ER-66; see also First Options of Chi., Inc. v. Kaplan, 514 U.S. 938, 944
(1995); Goldman, 747 F.3d at 743.
17
  See Oracle Am., Inc. v. Myriad Grp. A.G., 724 F.3d 1069, 1076–77 (9th Cir.
2013) (exempting “any disputes relating to Intellectual Property Rights” from
arbitration); Archer & White Sales, Inc. v. Henry Schein, Inc., 935 F.3d 274, 280
(5th Cir. 2019) (Schein); NASDAQ OMX Grp., Inc. v. UBS Sec., LLC, 770 F.3d
1010 (2d Cir. 2014).
18
  See, e.g., Oracle, 724 F.3d at 1071 (exempting “any disputes relating to
Intellectual Property Rights”); Schein, 935 F.3d at 280 (exempting “actions
seeking injunctive relief”); Adams v. Postmates, Inc., 414 F. Supp. 3d 1246, 1253–
54 (N.D. Cal. 2019) (exempting “any dispute relating to or arising out of” class
action waiver).


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Ninth Circuit routinely applies general rules of contract interpretation to interpret

carve-out provisions. In Mohamed v. Uber Technologies, Inc., for example, it

considered two separate carve-out provisions in Uber’s arbitration agreements with

its drivers, one a 2013 agreement and an amended agreement in 2014.19 While the

2014 agreement reserved all disputes to the arbitrator’s oversight, the 2013

agreement included a class action waiver stating:

                Notwithstanding any other clause contained in this
                Agreement, any claim that all or part of the Class Action
                Waiver … in invalid, unenforceable, unconscionable, void
                or voidable may be determined only by a court of
                competent jurisdiction and not by an arbitrator.20

As a result, the court held that the 2013 agreement delegated questions of

arbitrability “to the arbitrator except as pertains to the arbitrability of class action,

collective, action, and representative claims.”21 Therefore, the court’s role was to

decide the arbitrability question for those governed by that agreement.

         The Fifth Circuit also recently interpreted a similar carve-out provision

exempting actions seeking a specific remedy (i.e., injunctive relief), as opposed to




19
     848 F.3d 1201, 1209 (9th Cir. 2016).
20
     Id. at 1208.
21
     Id. (emphasis in original).


                                            19
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disputes related to a specific subject matter.22 It interpreted the clause

straightforwardly, refusing to impose limits otherwise unsupported by the text.23

As a result, it rejected the defendant’s argument to “limit the [carve-out] to ‘actions

only seeking injunction relief’ nor ‘actions for injunction in aid of an arbitrator’s

award.’”24 The court permitted the plaintiffs to proceed in federal court seeking

injunctive relief and damages under state and federal antitrust law.25

         The district court’s comparatively narrow interpretation of this carve-out

provision was reversible error. As written, the provision broadly allows either party

to “exercise any lawful rights or use other available remedies” to “obtain




22
 See Schein, 935 F.3d at 277 (exempting “actions seeking injunctive relief”); cf.
Mohamed, 848 F.3d at 1207 (exempting disputes related to class action waiver).
23
  And Wells Fargo is not alone. As class-action and class-arbitration waivers
become ubiquitous in adhesive contracts, corporate defendants argue to interpret
them broadly as it suits them. See McClenon v. Postmates Inc., 473 F. Supp. 3d
803, 811 (N.D. Ill. 2020) (discussing Postmates argument that carve-out provision
to class-action waiver must be interpreted broadly); Adams, 414 F. Supp. 3d at
1253 (same).
24
     Schein, 935 F.3d at 283.
25
  Id. at 283–84 (citing Waffle House, 534 U.S. at 294 (“[W]e do not override the
clear intent of the parties, or reach a result inconsistent with the plain text of the
contract, simply because the policy favoring arbitration is implicated.”)).


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provisional and ancillary remedies.”26 Among the available remedies is “injunctive

relief” in a “court of competent jurisdiction.”27 This language is straightforward.

      Nor is the provision’s breadth an accident. Wells Fargo, the drafter, included

it for the self-interested purpose of preserving its own access to the courts. Indeed,

Wells Fargo has argued that it can file lawsuits against customers for any number

of reasons, such as preventing the loss of assets before and during arbitration,

enforcing judgments, and securing property after arbitration. Only now that

Appellants use the carve-out to similar effect does Wells Fargo counter with these

unsupported interpretations.28 If Wells Fargo had intended to limit the parties as it


26
  2-ER-66; see Valley View Health Care, Inc. v. Chapman, 992 F. Supp. 2d 1016,
1042 (E.D. Cal. 2014) (granting declaratory relief to “remove[] uncertainty as to
viability and enforcement of challenged arbitration laws”); Maguire Ins. Agency,
Inc. v. Amynta Agency, Inc., No. 22-CV-00064-LK, --- F. Supp. 3d ---, 2023 WL
372381, at *8 (W.D. Wash. Jan. 24, 2023) (exempting “equitable relief –
including, without limitation, claims for declaratory or injunctive relief”); see also
Suit, Black’s Law Dictionary (11th ed. 2019) (defining “ancillary suit,” as “[a]n
action, either at law or in equity, that grows out of and is auxiliary to another suit
and is filed to aid the primary suit”).
27
  2-ER-66; see Magill v. Wells Fargo Bank, N.A., No. 4:21-CV-01877 YGR, 2021
WL 6199649, at *4 (N.D. Cal. June 25, 2021) (recognizing carve-out provided
“that a state or federal court with jurisdiction exceeding a small claims court would
resolve at lease some disputes”).
28
  And Wells Fargo is not alone. As class-action and class-arbitration waivers
become ubiquitous in adhesive contracts, corporate defendants argue to interpret
them broadly as it suits them. See McClenon, 473 F. Supp. 3d at 811 (discussing
Postmates argument that carve-out provision to class-action waiver must be
interpreted broadly); Adams, 414 F. Supp. 3d at 1253 (same).


                                          21
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argues, it would have done so.29 Having imposed the Arbitration Agreement upon

Appellants (and others), Wells Fargo cannot now re-write it to impose new,

unspoken terms.30

        C.     The District Court Misapplied the Law to Limit the Carve-Out

               Provision

        The district court has not interpreted the Arbitration Agreement, so much as

rewritten it. Instead of permitting Appellants to seek injunctive relief as the text

allows, the provision now permits lawsuits only “if interim relief is necessary to

preserve the status quo and the meaningfulness of the arbitration process.”31

        The district court’s analysis necessitates the inference that Toyo imposes a

kind of blanket rule limiting injunctive relief to preservation of the status quo. It

does no such thing. Toyo interpreted a specific carve-out described in Article 23 of



29
   See Lamps Plus, Inc. v. Varela, 139 S. Ct. 1407, 1416 (2019); see also Sandquist
v. Lebo Auto., Inc., 1 Cal. 5th 233, 248 (2016) (resolving ambiguities in arbitration
agreement against the drafter consistent with general principle of contract
interpretation).
30
     See Schein, 935 F.3d at 282–83; Maguire Ins., 2023 WL 372381, at *8.
31
  See 1-ER-7 (citing Toyo Tire Hldgs. of Am., Inc. v. Cont’l Tire N. Am., Inc., 609
F.3d 975, 981 (9th Cir. 2010)). Again, the plain language does not support that
interpretation. See AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 339 (2011)
(“courts must place arbitration agreements on an equal footing with other contracts
and enforce them according to their terms”); see also Schein, 935 F.3d at 282–83;
Maguire Ins., 2023 WL 372381, at *8.


                                           22
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the Rules of Arbitration of the International Chamber of Commerce (“ICC

Rules”).32 Article 23 allows parties to seek “interim or conservatory measures”

prior to arbitration.33 The limitations imposed in Toyo derived from the contract’s

language, not a blanket limit on courts issuing injunctive relief in cases governed

by arbitration agreements.34

         This case does not involve the same carve-out as Toyo or Capriole. If

anything, the language is closer to the language the Fifth Circuit refused to read

narrowly in Schein.35 Here, the Arbitration Agreement provides no limit on




32
     609 F.3d at 978–79; see Simula, 175 F.3d at 725-26 (interpreting Article 23).
33
   Toyo, 609 F.3d at 980–81. Thus, it empowers courts only to “issue interim
injunctive relief on arbitrable claims if interim relief is necessary to preserve the
status quo and the meaningfulness of the arbitration process. Id. at 981.
34
  See Capriole v. Uber Techs., Inc., 7 F.4th 854, 867 (9th Cir. 2021) (noting that
Toyo “address[ed] whether Article 23(2) allows a federal court to provide any
injunctive relief”). At issue in Capriole was the scope of injunctive relief available
under an arbitration agreement between Uber and its drivers. Id. at 868–69. The
relevant carve-out was similar in nature to the clause used in Toyo. Therefore, the
court held that Uber’s provision “parallel[ed] Article 23 of the ICC Rules,
authorizing courts to grant interim relief but strictly limiting it to measures that
preserve the status quo.” Id. at 868. Therefore, the Toyo limitation applied. Id.
(“[A]s in Toyo, Uber’s Arbitration Provision covers requests for emergency relief
…only if necessary to ‘preserve the status quo’”) (citing Toyo, 609 F.3d at 981).
35
  See Schein, 935 F.3d at 283 (interpreting carve-out provision excepting “actions
seeking injunctive relief” from arbitration).


                                           23
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injunctive remedies that “maintain the status quo” or prevent ineffectual awards.36

Instead, it broadly allows “provisional and ancillary remedies such as injunctive

relief” from a “court of competent jurisdiction.”37 By relying on Toyo,38 the district

court failed to interpret the Arbitration Agreement on its own plain terms.39




36
  See id. (refusing to limit carve-out for “actions seeking injunctive relief” to relief
to “preserve the status quo pending arbitration of on a permanent basis after the
plaintiff secures an arbitration award”); cf. Capriole, 7 F.4th at 867 (limiting carve-
out clause for injunctive relief “only upon the ground that the award to which that
party may be entitled may be rendered ineffectual without such provisional
relief”); Toyo, 609 F.3d at 980–81 (allowing only “interim or conservatory
measures”).
37
  2-ER-66. There is no need to parse whether injunctive relief is a “provision and
ancillary remedy.” The parties agreed to define it as such. 2-ER-66 (authorizing
parties to “obtain provisional and ancillary remedies such as injunctive relief”)
(emphasis added); Volt Info., 489 U.S. at 478 (courts enforce arbitration
agreements “according to their terms … [to] give effect to the contractual rights
and expectations of the parties”). And this is a contract of adhesion, not a
negotiated agreement between sophisticated parties. Any reasonable individual
under the circumstances would conclude that this language addressed a broad right
to seek injunctive relief. If Wells Fargo had some undisclosed understanding of the
clause, that does not matter to its interpretation. See Schein, 935 F.3d at 282–83.
38
  Notably, the Toyo limitation only applies to “arbitral” disputes in the first place.
But the first cause of action here is not, and never was, arbitrable because the
Arbitration Agreement expressly carved it out.
39
  See Maguire Ins., 2023 WL 372381, at *8 (citing Schein, 935 F.3d at 282–83);
see also Concepcion, 563 U.S. at 339.


                                          24
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II       The Arbitration Agreement Did Not “Clearly and Unmistakably”

         Delegate Arbitrability

         The FAA’s “foundational” principle is that “arbitration is strictly a matter of

consent.”40 Though the FAA promotes arbitration as a matter of policy, it does not

do so by undoing private agreements. Therefore, arbitration agreements are

“enforced according to their terms.”41 A court must “give effect to the intent of the

parties” in this, as in every other, contractual context.42

         The arbitrability question dictates who decides threshold issues. And absent

“clear and unmistakable” evidence to the contrary, arbitrability decisions are

presumptively reserved to the courts.43 This “heightened standard” is an

“interpretive rule, based on an assumption of the parties’ expectations.”44 Silence




40
     Lamps Plus, 139 S. Ct. at 1415.
41
     Volt Info., 489 U.S. at 478 (emphasis added).
42
     Stolt-Nielsen S.A. v. AnimalFeeds Int’l Corp., 559 U.S. 662, 684 (2010).
43
     See Kaplan, 514 U.S. at 946; Oracle, 724 F.3d at 1072.
44
  Rent-A-Center, West, Inc. v. Jackson, 561 U.S. 63, 69 n.1 (2010) (internal
quotations omitted).


                                            25
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or ambiguity are insufficient. Only express evidence that “admit[s] of no other

reasonable interpretation” satisfies this standard.45

      A.     Wells Fargo Failed to Unambiguously Delegate Arbitrability to

             the Arbitrator

      The Arbitration Agreement does not establish the parties’ “clear and

unmistakable” intent to delegate arbitrability questions. Indeed, it contains no

delegation clause at all, though Wells Fargo drafted it.46 Express delegation clauses

are a common––and simple––means of expressly delegating “threshold

arbitrability questions as well as underlying merits disputes” to an arbitrator.47 But




45
  Merrion v. Jicarilla Apache Tribe, 455 U.S. 130, 148 (1982) (defining clear and
unmistakable standard); see also Kaplan, 514 U.S. at 944–45; Local Joint Exec.
Bd. v. Mirage Casino-Hotel, Inc., 911 F.3d 588, 598 (9th Cir. 2018).
46
  See 2-ER-65–66; Nelson v. Dual Diagnosis Treatment Ctr., 292 Cal. Rptr. 3d
740, 750 (Cal. Ct. App. 2022) (finding no clear and unmistakable delegation where
“clause does not mention arbitrability, nor is it mentioned anywhere else in the
agreement”).
47
  Schein, 139 S. Ct. at 527; see also Caremark, LLC v. Chickasaw Nation, 43
F.4th 1021, 1029 (9th Cir. 2022) (citing Rent-A-Center, 561 U.S. at 68–69).


                                           26
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the Arbitration Agreement says little, if anything, about delegation.48 The absence

of this language alone should have ended the analysis.49

      Though the contract was silent on delegation, the district court substituted

for express delegation a series of linguistic penumbras. See 1-ER-7–8. But even if

one overlooked the absence of a true delegation clause, the district court’s

interpretation creates more questions than answers, particularly in light of the high

standard required to defeat the presumption. This is because the district court

reached several different conclusions about the scope of the alleged delegation.

      At the outset, the district court concluded that the delegation was broad and

absolute, encompassing “any unresolved disagreement” between the parties.1-ER-

7, 2-ER-7. But shortly thereafter, it re-defined the delegation to be more

conditional and limited.50 And by the end of the district court’s opinion, it


48
  See 2-ER-65–66; see also Kaplan, 514 U.S. at 944–45 (construing silence or
ambiguity of arbitrability against delegation); Mirage Casino-Hotel, 911 F.3d at
598.
49
   See Ajamian v. CantorCO2e, 203 Cal. App. 4th 771, 792 (2012) (“The absence
of such express language (or extrinsic evidence to the same effect) therefore gives
rise to the inference that the parties did not consider [arbitrability].”) (emphasis in
original); see also Meadows v. Dickey’s Barbecue Rests. Inc., 144 F. Supp. 3d
1069, 1077–79 (N.D. Cal. 2015) (holding court must determine arbitrability where
broad arbitration agreement lacked explicit delegation clause).
50
  1-ER-7; see also 2-ER-7. (“A dispute may also include a disagreement about this
Arbitration Agreement’s meaning, application, enforcement.”) (emphasis added);
see Gonzales v. Charter Comm’cns, LLC, 497 F. Supp. 3d 844, 849 (C.D. Cal.
2020) (noting defendant’s “broad[] interpretation, which calls for the delegation of

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suggested that the delegation was issue-specific, confined to resolving questions

about the Agreement’s “enforceability” or its consistency with AAA rules. 51 But a

clear and unmistakable delegation cannot amount to three separately defined

delegations. And even if narrow threads of delegation happen to run through these

clauses, they still must be interpreted as narrowly as possible.52

       In light of the absence of any true delegation language in the agreement,

Wells Fargo failed to satisfy the “clear and unmistakable” standard necessary to

support the district court’s conclusion that the parties had delegated questions of

arbitrability.53




any gateway arbitrability issue whatsoever, fails to consider the more limited
context of the language”).
51
  See 1-ER-7; 2-ER-7 (“If the Arbitration Agreement is in dispute, the arbitrator
will decide whether its enforceable.”); see also Gonzales, 497 F. Supp. 3d at 849.
52
  See U.S. ex rel. Welch v. My Left Foot Children’s Therapy, LLC, 871 F.3d 791,
797 (9th Cir. 2017) (“the specific governs the general”); S. Cal. Gas Co. v. City of
Santa Ana, 336 F.3d 885, 891 (9th Cir. 2003) (“A standard rule of contract
interpretation is that when provisions are inconsistent, specific terms control over
general ones.”).
53
  See Mirage, 911 F.3d at 598 (silence and ambiguity cannot commit questions of
arbitrability); see also Metro. Life Ins. v. Bucsek, 919 F.3d 184, 191 (2d Cir. 2019)
(“vague provisions as to whether the dispute is arbitral are unlikely to provide the
needed clear and unmistakable inference of intent to arbitrate its arbitrability”).


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         B.     The Carve-Out Provision Undermines the Existence of a Broad

                Delegation

         But the Court need not only rely on the absence of a delegation clause. Any

inferences regarding delegation from the plain language should be read to favor

Appellants’ position. First, the existence of the carve-out provision undermines the

district court’s finding of a broad delegation by demonstrating that the parties

contemplated the courts taking an active role in resolving their disputes.54 On the

one hand, the carve-out provision expressly permits courts to grant injunctive

relief. Wells Fargo argues that, on the other hand, the parties somehow negated

that express mandate in favor of letting an arbitrator decide. But given the plain

language, there is little reason to believe that the parties delegated these issues.

Where the carve-out provision is so clear and unambiguous, it would take at least




54
      See Jack v. Ring LLC, A165103, A165386, --- Cal. Rptr. 3d ---, 2023 WL
     3639767, at *5 (Cal. Ct. App. May 25, 2023) (“[T]he severability clause in this
     case very clearly contemplated that a court may decide whether the arbitration
     provision is enforceable when the provision is challenged based on the
     limitations of the [severability clause] itself. This uncertainty about who may
     decide such challenges means there is no clear and unmistakable delegation of
     the issue exclusively to arbitration.”); NASDAQ, 770 F.3d at 1031–32
     (concluding district court properly determined arbitrability where arbitration
     agreement “carves out certain issues from arbitration … until a decision is made
     as to whether a question does or does not fall within the intended scope of
     arbitration”).


                                           29
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an express delegation clause to overcome the presumption.55 But no such clause

exists.

          A finding of “clear and unmistakable” evidence is also dubious where the

“broad arbitration clause is subject to a qualifying provision that at least arguably

covers the present dispute.”56 Here, the carve-out provision permits “injunctive

relief” in a “court of competent jurisdiction,” and this is the relief Appellants

seek.57 Again, it makes little sense to expressly agree that injunctive claims may

proceed in court, then presume that the parties implied a delegation of that exact

question to an arbitrator.


55
   See Bucsek, 919 F.3d at 191 (“the clearer it is that the terms of the arbitration
agreement reject arbitration of the dispute, the less likely it is that the parties
intended to be bound to arbitration the question of arbitrability.”); Schein, 935 F.3d
at 281-82 (“Given that carve-out, we cannot say that the [Arbitration] Agreement
evinces a “clear and unmistakable” intent to delegate arbitrability”); Cobarruviaz
v. Maplebear, Inc., 143 F. Supp. 3d 930, 940–41 (N.D. Cal. 2015) (“While in
isolation [the delegation clause] may appear clear, it is inconsistent with the
severability clause … which states that ‘any arbitrator or court' could declare of
determine that a provision of the Agreement is invalid or unenforceable.”)
(emphasis in original) (citing Baker v. Osborne Dev. Corp., 159 Cal. App. 4th 884,
889 (2008); see also Ajamian, 203 Cal. App. 4th at 792 (“Even broad arbitration
clauses that expressly delegate the enforceability decision to arbitrator may not
meet the clear and unmistakable test, where other language in the agreement
creates an uncertainty in that regard.”).
56
     NASDAQ, 770 F.3d at 1010.
57
  2-ER-66; see id. at 1031 (finding no clear and unmistakable delegation where
“broad arbitration clause is subject to a qualifying provision that at least arguably
covers the present dispute”); Magill, 2021 WL 6199649 at *4.


                                           30
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        The existing conflicts between the terms of the Arbitration Agreement and

the implied delegation found by the district court are not “artificial” either.58 The

carve-out provision allows certain disputes to proceed beyond arbitration,

including this precise dispute.59 Because Wells Fargo could not possibly overcome

the arbitrability presumption given this set of circumstances, the district court

should have decided arbitrability.60

III     The FAA Authorizes Judicial Review of the PA Order

        The district court also erred by concluding that the PA Order was not “final

and binding,” but instead “procedural and not reviewable.” See 1-ER-8–10. The

court adopted a false binary by holding that “procedural” issues are not subject to

judicial review. See 1-ER-9. Terms like “procedural” and “substantive” hold little

weight; instead, courts must address the entirety of a situation to determine

whether substantive rights have been violated.61 Here, Appellants’ substantive


58
  See Mohamed, 848 F.3d at 1209 (holding forum selection clause did not
contradict express delegation clause).
59
  2-ER-66; see Cobarruviaz, 143 F. Supp. 3d at 940–41; Magill, 2021 WL
6199649, at *4-5; cf. Mohamed, 848 F.3d at 1209.
60
     See Nasdaq, 770 F.3d at 1031–32; Magill, 2021 WL 6199649 at *4.
61
  See John Wiley & Sons, Inc. v. Livingston, 376 U.S. 543, 556 (1964)
(“[D]isputes of the kind involved here cannot be broken down so easily into their
‘substantive’ and ‘procedural’ aspects. Questions concerning the procedural
prerequisites to arbitration do not arise in a vacuum; they develop in the context of
an actual dispute about the rights of the parties to the contract or those covered by

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contractual rights were violated, and the district court has the authority to vindicate

those rights, as it would if the shoe were on the other foot, and Wells Fargo was

objecting to the imposition of class-wide arbitration procedures.

         A.    Appellants’ Substantive Contractual Rights Have Been Violated

         The district court held that “it is well-settled that questions of procedure

relating to arbitration are not reviewable by courts.” 1-ER-9. But the distinction

between procedural and substantive issues are never so clear as to be a bright line,

and particularly not in this context.62

         Nor is the district court’s reasoning “well-settled.” 1-ER-9. The Supreme

Court has said that “[i]n certain contexts . . . procedural questions . . . are

presumptively not for the judge, but for an arbitrator, to decide.”63 But this

presumption only applies where an arbitrator is “implicitly authorize[d] . . . to

adopt such procedures” by supplying undefined and inferred terms consistent with

the background principals of contract law.64


it.”); Shivkov, 974 F.3d at 1067 (“the relevant metric is not the labeling of a
particular mechanism in federal court as “procedural,” but rather the categories of
gateway issues [that] determine whether an issue is presumptively for a court or an
arbitrator to decide absent further agreement by the parties”).
62
     See infra n.61.
63
     Stolt-Nielsen, 559 U.S. at 684–85 (emphasis added).
64
  Id. at 685 (citing Restatement (Second) of Contracts § 204 (Am. Law. Inst.
1979)); see also McKesson Corp. v. Local 150 IBT, 969 F.2d 831, 834 (9th Cir.

                                             32
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         Particularly troublesome here is that the “procedural” question at issue––the

imposition of class-wide procedures––is one uniquely associated with a federal

court’s powers, not an arbitrator’s powers.65 The Ninth Circuit, with at least seven

other circuits, has “concluded that the availability of class arbitration is a gateway

question for a court to presumptively decide.”66 Similarly, in Stolt-Nielsen, an

AAA panel determined that an arbitration agreement had authorized class

arbitration.67 Subsequently, a district court vacated that award because it was in

“manifest disregard of the law.”68 The Second Circuit reversed, but the Supreme

Court concluded that parties cannot be forced to class arbitration absent an express

agreement, and that the courts could intervene.69 It vacated the arbitration award,


1992) (holding parties may “explicitly or implicitly” delegate procedural issues
solely to arbitrator).
65
     See Shivkov, 974 F.3d at 1067.
66
  Id. at 1067–68; see also 20/20 Commc’ns, Inc. v. Crawford, 930 F.3d 715, 718–
19 (5th Cir. 2019); Herrington v. Waterstone Mortg. Corp., 907 F.3d 502, 506–07
(7th Cir. 2018); JPay, Inc. v. Kobel, 904 F.3d 923, 935–36 (11th Cir.
2018); Catamaran Corp. v. Towncrest Pharmacy, 864 F.3d 966, 972 (8th Cir.
2017); Del Webb Cmtys, Inc. v. Carlson, 817 F.3d 867, 873 (4th Cir.
2016); Opalinski v. Robert Half Int'l Inc., 761 F.3d 326, 334–35 (3d Cir.
2014); Reed Elsevier, Inc. v. ex rel. LexisNexis Div. v. Crockett, 734 F.3d 594,
598–99 (6th Cir. 2013).
67
     See 559 U.S. at 668–70.
68
     Id. at 669.
69
     Id. at 670.

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even though the imposition of class procedures is inarguably “procedural in

nature,” reasoning that an arbitrator imposing class or collective procedures does

not presumptively reserve the power to impose, and thus has no ability to enforce,

those procedures.70 Put another way, both parties to an arbitration agreement have

a substantive, enforceable contract right to bilateral arbitration.

         The PA Order concerns the same “procedural” issues as Stolt-Nielsen––the

non-consensual imposition of collective procedures to resolve individual claims.71

The supposedly “procedural” decision to impose class or collective procedures is

reviewable.72 Indeed, unlike the agreements at issue in Stolt-Nielsen and Lamps

Plus––both silent or ambiguous about class arbitration––the Arbitration Agreement

expressly prohibits Appellants from class and collective procedures.73 It is no little

irony that Wells Fargo now claims they must abide by such procedures.



70
  See id. at 685 (“An implicit agreement to authorize class-action arbitration,
however, is not a term that the arbitrator may infer solely from the fact of the
parties’ agreement to arbitrate.”); see also Lamps Plus, 139 S. Ct. at 1416
(concluding courts could review arbitration order imposing classwide arbitration).
71
     559 U.S. at 685.
72
     Id.; Shivkov, 974 F.3d at 1067–68.
73
  2-ER-65 (“Neither Wells Fargo nor you will be entitled to join or consolidate
disputes by or against others as a representative or member of a class . . . .”); see
Stolt-Nielsen, 559 U.S. at 673; Lamps Plus, 139 S. Ct. at 1417 (holding court
cannot compel class wide arbitration where arbitration agreement is silent).


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         Moreover, the PA Order’s effects––“shifting from individual to class

arbitration” ––constitutes a “fundamental change … that sacrifices the principal

advantage of arbitration.”74 Of course, the PA Order does not expressly concede

that it imposes “class procedures,” but it bears the collective hallmarks of class

arbitration.75

         First, it prevents Appellants from obtaining the supposed benefits of bilateral

arbitration.76 The “switch from bilateral to class arbitration sacrifices the principal

advantage of arbitration––its informality––and makes the process slower, more

costly, and more likely to generate procedural morass than final judgment.”77 And

here, the PA Order has not only ground the proceedings to a halt, but threatens to

obliterate thousands of claims without even the semblance of a hearing.78



74
     Id. at 1414; see Concepcion, 563 U.S. at 348.
75
  See Shivkov, 974 F.3d at 1067 (“[T]he relevant metric is not the labeling of a
particular mechanism in federal court as “procedural,” but rather the categories of
gateway issues [that] determine whether an issue is presumptively for a court or an
arbitrator to decide absent further agreement by the parties.”) (emphasis in
original).
76
     See Stolt-Nielsen, 559 U.S. at 685.
77
     Concepcion, 563 U.S. at 348; see also Catamaran, 864 F.3d at 971.
78
  2-ER-190–191; Concepcion, 563 U.S. at 349 (noting that the AAA
Supplementary Rules for Class Arbitration “mimic the Federal Rules of Civil
Procedure for class litigation).


                                            35
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         Second, the PA Order hinders the parties’ ability to maintain confidentiality,

another hallmark of individual arbitration.79 To comply with the PA Order, the

Process Arbitrator recommended producing a spreadsheet of all claimants’

personal information––including their bank account numbers and other identifying

information.80 Exposing sensitive information through joint procedures sacrifices

these considerations, and for no reason to boot, since Wells Fargo already has the

information in its possession.

         Third, the PA Order brings the high stakes of class-action litigation into

arbitration while lacking substantive safety nets, including (but not limited to)

appellate review.81 Without the availability of appellate review, it is “more likely

that errors will go uncorrected” and though parties may be willing “to accept the

costs of these errors in arbitration, since their impact is limited to the size of

individual disputes,” the stakes are invariably higher in class litigation.82 Indeed,




79
     Stolt-Nielsen, 559 U.S. at 686.
80
  See 2-ER-190–191 (“In lieu of filing and serving a separate Amended Claims for
each Claimant, one spreadsheet signed by an attorney of record for Claimants may
be filed and served for all Claimants if it includes the ordered information for each
Claimant.”).
81
     Stolt-Nielsen, 559 U.S. at 686-87.
82
     Concepcion, 563 U.S. at 350.


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the PA Order now threatens to dispose of claims without permitting any kind of

individualized hearing at all.

         And finally, the PA Order has introduced troubling due process concerns in

an otherwise straightforward dispute.83 It imposes its reach not only upon pending

claims, but any and all future claims brought after its entry. 2-ER-191. In short, the

PA Order impacts the rights of future claimants without even an opportunity to be

heard.84 As a result, it “no longer purport[ed] to bind just the parties to a single

arbitration agreement, but adjudicate[ed] the rights of absent parties as well.”85 At

the very least, an absent party “must be afforded notice, an opportunity to be heard,

and a right to opt out of the class.”86 The PA Order considered none of these

matters, which is one more reason why enjoining its overreach is vital.




83
     See Stolt-Nielsen, 559 U.S. at 686.
84
  See 2-ER-190–191. (“The invoicing of AAA fees is stayed for all Claims that
have not already been invoiced and for all new Claims filed with the AAA until the
requirements . . . have been satisfied.”).
85
  Stolt-Nielsen, 559 U.S. at 686; see AT&T Mobility LLC v. Bernardi, 11 Civ.
03992, 11 Civ. 04412, 2011 WL 5079549, at *7 (N.D. Cal. Oct. 26, 2011) (holding
self-described individual arbitration constitutes “class proceeding” given impact on
non-parties).
86
     Concepcion, 563 U.S. at 349.


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         The court’s ability to intervene in these circumstances is straightforward.

Appellants have the same substantive right to bilateral arbitration as Wells Fargo.87

Indeed, if Wells Fargo and the AAA combine to undermine Appellants’

substantive rights, the rich irony is that only Appellants are left to defend the

FAA’s “inherent” policy supporting bilateral arbitration.88 This fundamental

injustice must be remedied.

         B.    The Parties Agreed that the PA Order Was “Final and Binding”

         The district court also had authority to review the PA Order because it was

“final and binding.”89 As a matter of fact, the parties expressly agreed that the PA

Order was “final and binding” at the time it was issued, which should have been

sufficient for review.90




87
  See id. at 348 (“[C]lass arbitration, to the extent it is manufactured … rather than
consensual, is inconsistent with the FAA”; Hodges v. Comcast Cable Comm’s,
LLC, 21 F.4th 535, 544 (9th Cir. 2021) (rejecting rule that would “interfere with
the informal, bilateral nature of traditional consumer arbitration”) (internal quotes
omitted).
88
     Lamps Plus, 139 S. Ct. at 1417.
89
  See Millmen Local 550, United Broth. of Carpenters and Joiners of Am., AFL-
CIO v. Wells Exterior Trim, 828 F.2d 1373, 1375 (9th Cir. 1987)
90
  See 2-ER-186. Wells Fargo again insisted the PA Order was “final and binding”
on November 8, 2022, after Appellants challenged the order. 2-ER-196. It was
only after Appellants sought review that Wells Fargo changed its mind.


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       Likewise, the AAA’s Multi-Case Filing rules also state that a process

arbitrator’s decisions are “final and binding upon the parties and Merits

Arbitrator(s).”91 Put another way, the parties are bound to the PA Order throughout

the arbitration process. As a result, there is no policy concern about the efficiency

of review.

       Moreover, the damage to Appellants and other claimants already has been

done and cannot be undone. This is why injunctive relief is appropriate, and why

Appellants came to federal court to obtain it. Delay would be futile and only

increase the imposition on Appellants’ rights to bilateral arbitration.

                                    CONCLUSION

       Appellants not only deserve their day in court to vindicate their contractual

rights to bilateral arbitration, they are entitled to it by federal law, federal policy,

and the plain language of their agreements with Wells Fargo. The district court’s

order should be reversed, and the district court directed to resolve Appellants’ first




91
  See 2-ER-186; see also P&P Indus., Inc. v. Sutter Corp., 179 F.3d 861, 866–67
(10th Cir. 1999) (“If the parties to an arbitration clause agree that their arbitration
shall be final and binding, some courts have held the parties have consented to
judicial confirmation of awards.”); Pace St. Charles v. J.A. Jones, Contr. Co., 823
F.2d 120, 124 (5th Cir. 1987) (implying consent judicial review by agreement to be
bound by result); Rainwater v. Nat’l Home Ins. Co., 944 F.2d 190, 194 (4th Cir.
1991) (holding “parties agreed that arbitration should be final and binding, and that
as a result the arbitration award should be confirmed as made”).

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cause of action regarding the violation of their rights under the Arbitration

Agreement.

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                     STATEMENT OF RELATED CASES

      Pursuant to Ninth Circuit Rule 28-2.6, Appellants are unaware of any related

cases pending in the Ninth Circuit.

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                       CERTIFICATE OF COMPLIANCE

Pursuant to Federal Rule of Appellate Procedure 32(a)(7)(C), I certify that:

      Appellants’ Opening Brief complies with the type-volume limitations of

Federal Rule of Appellate Procedure 32(a)(7)(B) as this brief contains 12,797

words, excluding the parts of the brief exempted by Federal Rule of Appellate

Procedure 32(a)(7)(B)(iii).

      Appellants’ Opening Brief complies with the typeface requirements of Rule

32(a)(5) and the type style requirements of Rule 32(a)(6) of the Federal Rules of

Appellate Procedure. Appellants’ Opening Brief has been prepared in a

proportionately-spaced typeface using Microsoft® Word for Microsoft 365 MSO

(Version 2301 Build 16.0.16026.20002), and Times New Roman 14-point font.

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